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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

JEFFREY MERCADO, TYRONE                     Civil Case No.: 1:20-cv-06533 (AT) [rel
PRINGLE, ADAM ROMAN, KEVIN                  20-cv-05776]
KNOIS, and EDWARD KALANZ, on
behalf of themselves and others similarly
situated,                                   DEFENDANTS METROPOLITAN
                                            TRANSPORTATION AUTHORITY AND
                             Plaintiffs,    TRIBOROUGH BRIDGE AND TUNNEL
                                            AUTHORITY’S MEMORANDUM OF
                                            LAW IN OPPOSITION TO PLAINTIFFS’
                                            MOTION FOR CONDITIONAL
                                            CERTIFICATION OF A COLLECTIVE
                                            ACTION

         v.

METROPOLITAN TRANSPORTATION
AUTHORITY and TRIBOROUGH
BRIDGE AND TUNNEL AUTHORITY,

                             Defendants.
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                                 PRELIMINARY STATEMENT

       Defendants Metropolitan Transportation Authority (“MTA”) and Triborough Bridge and

Tunnel Authority (“TBTA”) (together, “Defendants”) submit this Memorandum of Law in

Opposition (the “Opposition”) to Plaintiffs Jeffrey Mercado, Tyrone Pringle, Adam Roman,

Kevin Knois and Edward Kalanz’s (together, the “Mercado Plaintiffs”) Motion for Conditional

Certification of a Collective Action (the “Motion”) dated September 2, 2020. (Mercado Dkt. 32.)

Defendants respectfully request that the Court deny the Motion for the reasons below.

       Defendants do not oppose conditional certification for purposes of disseminating notice

on account of the “low bar” courts apply in granting such motions, as well as the fact that a

significant majority of the putative opt-ins have already joined the putative FLSA Collective.

Defendants reserve all rights to challenge the suitability of this case for representative treatment

and intend to vigorously move to decertify the FLSA Collective after substantial discovery has

been completed.

       Notwithstanding the foregoing, Defendants are concerned that if the Court issues notice

in Mercado to putative opt-ins prior to resolving Defendants’ consolidation motion and the

concurrent request by the plaintiffs in Joseph et al. v. Metropolitan Transportation Authority et

al., 1:20-cv-05776 (AT) (“Joseph”) to conditionally certify and issue notice to the same putative

opt-ins regarding the same FLSA claims against the same Defendants, there is the potential for

the Court to issue duplicative notices to the same individuals, which will inevitably confuse

putative opt-in as to their rights in each case. Indeed, for this very reason, courts are loathe to

issue concurrent notices to the same group of opt-ins in duplicative actions—as here.

Accordingly, Defendants believe notice, whether agreed to between the parties or as directed by

the Court, should issue only once as to the putative opt-ins who have not yet joined either
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Mercado or Joseph, respectively. Defendants respectfully request that the Court resolve the

Motion concurrent with or subsequent to Defendants’ pending consolidation motion.

       Moreover, as explained below, the Mercado Plaintiffs’ proposed notice is misleading,

inaccurate and departs starkly from the form and methodology of the notice that Plaintiffs’

counsel and Defendants agreed to in a nearly-identical prior action, Feliciano et al. v.

Metropolitan Transportation Authority et al., No. 1:18-cv-00026-VSB (“Feliciano”), which

yielded a substantial opt-in rate. Defendants are currently attempting to resolve these issues with

the Mercado Plaintiffs, but if the parties are unable to resolve the open issues, notice should be

distributed via first-class mail and e-mail only, through a neutral third-party—as was done in

Feliciano—and the Court should incorporate the additional proposed revisions to the notices

contained herein.

                                  PROCEDURAL HISTORY

   A. Joseph et al. v. Metropolitan Transportation Authority et al. (“Joseph”)

       On July 24, 2020, Plaintiffs Wayne Joseph, Scott Denley, Anthony Barbato, Bryan

Welsh, Latoria Bosley, and Darnell Eason commenced an action against Defendants alleging two

(2) FLSA counts on behalf of themselves and approximately 500 purportedly similarly-situated

Bridge and Tunnel Officers employed by the TBTA over the relevant time period. (See Joseph

First Amended Complaint (“FAC”) at ¶¶ 1, 67-92.) A FAC was filed on September 1, 2020,

which was nearly-identical to the Original Complaint, except six (6) additional Named Plaintiffs

were added to the pleading and the caption: Cerrone Danzy, Worrell Francis, Lorenzo Thousand,




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Edwin Collazo, Jr., Ricardo Cruz, Jr., and Jason Vasquez. 1 (See id. at ¶¶ 16-21.) The Joseph

FAC alleges two (2) FLSA violations on behalf of the putative FLSA Collective, including:

(i) alleged miscalculations of the regular rate of pay for purposes of paying overtime

compensation by excluding certain lump sum payments pursuant to a purportedly “uniform

policy and practice” applicable to all Officers (Id. at ¶¶ 74-83); and (ii) alleged failure to pay

overtime compensation pursuant to a purportedly “uniform policy and practice of paying

overtime wages two pay periods – four to six weeks – after the work was performed.” (Id. at

¶¶ 84-92.)

    B. Mercado et al. v. Metropolitan Transportation Authority et al. (“Mercado”)

       Approximately one month later, on August 17, 2020, the five (5) Mercado Plaintiffs, also

TBTA Bridge and Tunnel Officers, filed a nearly identical Complaint to Joseph, alleging the

same two (2) FLSA counts on behalf of the same putative FLSA Collective comprised of

approximately 500 Bridge and Tunnel Officers employed by TBTA over the relevant time

period. (Mercado Compl. at ¶¶ 112-19, 145-63.) The Mercado Plaintiffs alleged two (2)

additional FLSA counts not present in Joseph: (i) that they allegedly performed pre- and post-

shift work without compensation; and (ii) that they allegedly were subjected to an unlawful

“automatic time-rounding” practice. (Id. at ¶¶ 112-44.) To date, four-hundred and forty-four

(444) Officers (including the five (5) named plaintiffs) have filed consent to join forms to opt in

to the putative FLSA Collective. (Mercado Dkt. 7, 11, 12, 13, 19, 20, 23, 25, 26, 27, 28, 29, 30,

34, 37, 41, 42 43, 44, 45, 47, 48, 49, 50, 52, 54, 60, 64, 65, 66, 67, 68, 70.) According to the

Mercado Plaintiffs, as of September 29, 2020, there were nineteen (19) remaining Officers who


1
       On September 21, 2020, two of the Named Plaintiffs in Joseph, Edwin Collazo, Jr. and
       Ricardo Cruz, Jr., withdrew from that case and joined Mercado. (See Joseph Dkt. 32 and
       34; Mercado Dkt. 58 and 59.)

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have not yet joined the putative FLSA Collectives in Mercado or Joseph (and since, then four (4)

additional Officers have joined Mercado). (Mercado Dkt. 68, 70.)

   C. Procedural Posture

       Mercado and Joseph were deemed “related” by this Court on August 26, 2020.

Defendants filed a pre-motion letter seeking to consolidate Joseph and Mercado on August 27,

2020 (Mercado Dkt. 24; Joseph Dkt. 12), and Defendants then filed a motion to consolidate

pursuant to Federal Rule of Civil Procedure 42(a) on September 21, 2020. (Joseph Dkt. 29;

Mercado Dkt. 55.) On October 2, 2020, the Joseph Plaintiffs advised the Court they do not

oppose Defendants’ motion to consolidate or Defendants’ request that the Court direct the filing

of a consolidated complaint. (Joseph Dkt. 36.) The Mercado Plaintiffs’ response to Defendants’

consolidation motion is due October 5, 2020.

       On September 2, 2020—almost one week after Defendants filed a pre-motion letter to

consolidate the actions—the Mercado Plaintiffs filed the Motion, seeking to conditionally certify

a FLSA Collective comprised of all Bridge and Tunnel Officers employed by Defendants during

the relevant time period, excluding any Bridge and Tunnel Officers serving as Union Executive

Board Members, which was not an exclusion in their Complaint and no amended Complaint has

been filed. (Mercado Dkt. 32 at 3.).

       On September 14, 2020, the Joseph Plaintiffs filed a pre-motion letter seeking leave to

file a motion for conditional certification of an identical putative FLSA Collective as the

Mercado Plaintiffs seek to certify here, comprised of all Bridge and Tunnel Officers employed

by TBTA during the relevant time period. (Joseph Dkt. 27.) Defendants responded the following

day, requesting that the Court deny the Joseph Plaintiffs’ request to move for conditional

certification because the motion is premature in advance of the Court’s resolution of the pending


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consolidation motion. (Joseph Dkt. 28.) The Court has not yet responded to the Joseph Plaintiffs’

request. Defendants also requested that the Court adjourn the briefing schedule for the Motion

for the same reasons. (See Mercado Dkt. 51.)

       On September 22, 2020, Defendants and the Mercado Plaintiffs entered into an

agreement tolling the individual statutes of limitation for each putative opt-in who has not filed

with the Court a consent to join the Mercado putative FLSA Collective from September 2, 2020

through the end of the notice period, if the Court conditionally certifies the putative FLSA

Collective. (See Mercado Dkt. 62.) That same day, Defendants advised the Court of this

development, reinforcing Defendants’ position that conditional certification should be decided

after consolidation is determined, and that no prejudice would result from the delay in doing so.

(Id.) The Mercado Plaintiffs submitted a surreply on September 29, 2020, asserting that the

Court should deny Defendants’ request to stay the briefing on the Motion. (Mercado Dkt. 68.)

On September 30, 2020, the Court denied Defendants’ request to adjourn briefing on the Motion

pending the Court’s ruling on Defendants’ motion to consolidate. (Mercado Dkt. 69.)

       An initial conference has been scheduled in Joseph, the first-filed action, for November

23, 2020. (Joseph Dkt. 9.) To date, no discovery or scheduling orders have been ordered in either

case. The Court granted Defendants’ request to adjourn their deadlines to answer, move or

otherwise respond to the Mercado and Joseph pleadings, respectively, until resolution of the

pending motion to consolidate. (Mercado Dkt. 39; Joseph Dkt. 26.)




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                                          ARGUMENT

I.     DEFENDANTS DO NOT OPPOSE CONDITIONAL CERTIFICATION AND THE
       ISSUANCE OF NOTICE TO PUTATIVE FLSA COLLECTIVE MEMBERS, BUT
       HAVE CONCERNS ABOUT THE COURT ISSUING DUPLICATIVE NOTICES
       TO THE SAME PUTATIVE FLSA COLLECTIVES IN MERCADO AND
       JOSEPH, RESPECTIVELY.

       In light of the Court’s September 30, 2020 Order denying Defendants’ request that the

Court adjourn briefing of the Motion pending resolution of Defendants’ consolidation motion,

Defendants do not oppose conditional certification and issuance of Court-authorized notice of the

proposed Mercado FLSA Collective due to (1) the traditionally “low standard of proof” courts

apply to the “modest factual showing” required of plaintiffs at this stage (see, e.g., Myers v.

Hertz Corp., 624 F.3d 537, 555 (2d Cir. 2010) (internal citations omitted)); and (2) the fact that,

as of September 29, 2020, a large majority of the potential collective-action members have

already opted-in to Mercado. (Mercado Dkt. 68.) Defendants otherwise reserve all rights and

defenses to oppose this case as unsuitable for collective treatment under 29 U.S.C. § 216(b), and

vigorously intend to oppose the case proceeding on a representative basis after substantial

completion of discovery and will move to decertify the putative FLSA Collective at the

appropriate time.

       However, given the posture of this case and that of the related Joseph action—as the

Court is aware, the Joseph Plaintiffs also seek to conditionally certify and issue notice to the

same putative FLSA Collective regarding the same FLSA claims against the same Defendants as

here 2—and given Defendants’ pending consolidation motion, Defendants are concerned that the


2
       The Mercado Plaintiffs argue that Defendants’ legitimate concern that two competing
       conditional certifications motions may proceed if the cases are not consolidated is “purely
       hypothetical” because the Joseph Plaintiffs have only submitted a pre-motion letter.
       (Mercado Dkt. 61 at 1; 68 at 3.) This assertion places far too much emphasis on form
       over substance, as the Joseph Plaintiffs merely complied with this Court’s Individual
       Rules of Practice in Civil Cases, which requires parties to file a pre-motion letter seeking
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Court could concurrently authorize the sending of two notices for two competing collective

actions regarding the same claims to the same group of putative opt-ins. This result is untenable

due to, inter alia, the high likelihood of mass confusion among the putative opt-ins regarding

their rights in each case. Indeed, courts in similar circumstances have consistently recognized it

is inappropriate to do so. See, e.g., Schucker v. Flowers Foods, Inc., No. 16-CV-3439 (KMK),

2017 WL 3668847, at *7 (S.D.N.Y. Aug. 24, 2017) (denying motion for conditional certification

of second action); Varghese v. JP Morgan Chase & Co., 14 Civ. 1718 (PGG), 15 Civ. 3023

(PGG), 2016 WL 4718413, at *3-4 (S.D.N.Y. Sept. 8, 2016) (consolidating two substantially-

similar actions in order to promote judicial economy, avoid “vexatious litigation in multiple

forums” and eliminate the risk of inconsistent judgments); 3 Brunner v. Jimmy John’s, LLC, No.

14 C 5509, 2016 WL 7232560, at *3 (N.D. Ill. Jan. 14, 2016) (noting that consolidation of two

separate FLSA actions—brought by two groups of employees against the same employer—and a

single proposed notice for the consolidated action were necessary to “prevent confusion among




       leave to file a formal motion. Thus, as a practical matter, plaintiffs in both actions seek
       leave for the Court to conditionally certify the same putative FLSA Collective.
3
       The Mercado Plaintiffs unpersuasively attempt to distinguish Varghese in their
       September 21, 2020 letter by claiming that it is inapposite because the two sets of
       plaintiffs there consented to consolidation and the issuance of one notice. (Mercado Dkt.
       61.) However, in Varghese, the defendants opposed consolidation and conditional
       certification, which required the district court to consider the facts and whether the case
       was appropriate for consolidation and what type of notice, if any, should issue to the
       putative collective. The court concluded that the “trivial differences” cited by the
       defendants in opposition to consolidation were “dwarfed by the similarities in the two
       actions” at issue, and judicial economy would be served by consolidation because there
       was—as here—a substantial overlap in parties, factual allegations and legal issues, and
       discovery would involve duplicate document production and depositions. Varghese, 2016
       WL 4718413 at *4. Accordingly, the court consolidated the actions and issued one notice
       to the putative collective for the related, consolidated actions. The same result is
       warranted here.

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the recipients as to whether the suits cover the same claims; whether they might recover twice;

and whether it is necessary to opt-in to both or risk forfeiting some rights.”).

        Accordingly, Defendants respectfully request that the Court authorize the distribution of

only one notice to putative opt-ins of the FLSA Collective in Mercado, and for the reasons stated

in Defendants’ motion to consolidate (see Mercado Dkt. 56), exercise its discretion by

consolidating Mercado and Joseph and ruling that notice should not issue in Joseph in light of

the Court’s conditional certification of the same putative collective in Mercado. Doing so will

avoid the inevitable unnecessary confusion to putative opt-ins, prejudice to Defendants who

would have to defend against multiple collective actions asserting the same claims at the same

time, and waste of resources if the Court orders briefing conditional certification motions in both

cases and authorizing notice to issue to the same set of putative opt-ins in both cases.

        Defendants also object to the form, content and methodology of the proposed notices on

numerous grounds, which are reflected in detail in Sections II, III and IV, infra. Defendants are

endeavoring to resolve these issues with the Mercado Plaintiffs without judicial intervention.

(See Declaration of Steven Hurd (“Hurd Decl.”) at ¶ 2.)

II.     PLAINTIFFS’ PROPOSED NOTICES ARE INACCURATE AND/OR
        MISLEADING AND SHOULD BE REVISED.

        “No courts have specifically outlined what form court-authorized notice should take, or

what provisions notice issued pursuant to § 216(b) should contain.” Gjurovich v. Emmanuel’s

Marketplace, Inc., 282 F. Supp. 2d 101, 105-06 (S.D.N.Y. 2003). However, the Supreme Court

has stated that the details of a notice under § 216(b) should be left to the discretion of the trial

court. Hoffmann–La Roche, Inc. v. Sperling, 493 U.S. 165, 170 (1989). “By monitoring

preparation and distribution of the notice, a court can ensure that it is timely, accurate, and



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informative.” Id. at 172 (emphasis added). Further, “[b]oth the parties and the court benefit from

settling disputes about the content of the notice before it is distributed . . . .” Id. at 171-72.

        Defendants object to the content and form of the Mercado Plaintiffs’ proposed notices,

and are attempting to resolve those issues with the Mercado Plaintiffs. (See Hurd Decl. at ¶ 2.)

The parties should be given an opportunity to revise the notices and curtail the notice process

without court intervention due to the significant deficiencies that exist in the aggressive and

misleading proposed notices and notice process that the Mercado Plaintiffs outlined in the

Motion. See, e.g., Flood v. Just Energy Mktg. Corp., No. 15 Civ. 2012 (AT), 2016 WL 354078

(S.D.N.Y. Jan. 25, 2016) (directing parties to meet-and-confer regarding remaining issues related

to the form and dissemination of notice). In the event the parties do not reach agreement, then the

Court should revise the notices based on Defendants’ proposed revisions. Further, as described

above, once the appropriate notice is determined—whether by agreement of the parties or the

Court—such notice should not be sent to putative collective members until Defendants’

consolidation motion and the Joseph Plaintiffs’ proposed motion for conditional certification are

decided to avoid duplicative notices being sent.

        Put simply, the proposed notices (Mercado Dkt. 33-11 at 2-4) fail to comply with the

strictures of Hoffmann-LaRoche, which require court-authorized FLSA opt-in notices to be, inter

alia, “accurate.” 493 U.S. at 172. The notices plainly are not. Most of Defendants’ proposed

revisions below are consistent with the content of the notice forms in Feliciano, which

Defendants and the Mercado Plaintiffs’ counsel negotiated in good-faith, and which yielded a

substantial opt-in rate of one-hundred and sixty-five (165) out of one-hundred and eighty-two

(182) putative opt-ins. (See Hurd Decl. at ¶¶ 3-6, Ex. B.) There is no basis to depart from the

terms the parties previously agreed to in another matter, as the Feliciano Plaintiffs alleged the


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same claims that the Mercado Plaintiffs currently assert against Defendants, but on behalf of

TBTA Sergeants and Lieutenants—i.e., the superior officers to the Bridge and Tunnel Officers

asserting FLSA claims in Mercado and Joseph, respectively.

         First, the case caption should be revised to reflect that Mercado and Joseph are related,

and, if the Court grants Defendants’ consolidation motion, consolidated. (See Hurd Decl., Ex. A

at 1.)

         Second, the proposed notices inappropriately and misleadingly refer to Officers as

“employed by” MTA and TBTA. (Mercado Dkt. 33-11 at 2.) This is a disputed legal issue

between the parties and will unnecessarily cause confusion among the putative opt-ins, since

there are “Officers” employed by the MTA who are not Bridge and Tunnel Officers and are not

part of the proposed collective. The notices should refer to Bridge and Tunnel Officers as being

“employed by Triborough Bridge and Tunnel Authority” only, which is undisputed and reflects

the manner in which the Officers refer to themselves. Adopting this proposed revision will

prevent confusion by anyone who is an “Officer” (but not a Bridge and Tunnel Officer)

employed by the MTA directly or by any other MTA agency, from claiming that he or she

should have received a notice.

         Third, the text of the proposed email notice, as well as the text message and workplace

posting (if the Court finds such notices are warranted, which it should not; see Section III, infra)

currently provide that “[i]f you worked for the Metropolitan Transportation Authority or the

Triborough Bridge and Tunnel Authority . . .” at any time three (3) years before the filing of the

lawsuit, you may be eligible to join the lawsuit as an opt-in plaintiff. The text is plainly

overbroad, inaccurate and incredibly misleading, and must be revised to state that individuals are

eligible to join the lawsuit only if they worked “as a Bridge and Tunnel Officer for the


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Triborough Bridge and Tunnel Authority” during the relevant time period. (See Hurd Decl., Ex.

A.) Otherwise, a deluge of all MTA and TBTA employees will inappropriately seek to join this

lawsuit.

        Fourth, the notices should be issued only to the Bridge and Tunnel Officers who have not

yet opted in to Mercado if they are currently employed or were employed by the TBTA within

three (3) years prior to September 2, 2020 (i.e., the date of the Motion)—not three (3) years prior

to the filing of the Complaint as the Mercado Plaintiffs suggest. This is consistent with the

parties’ tolling agreement, which tolls putative opt-in members’ claims from September 2, 2020

through the conclusion of the notice period. (See Hurd Decl., Ex. A at 1-2.)

        Fifth, Defendants identified in their proposed revisions certain text that constitutes

unnecessary commentary by the Mercado Plaintiffs, which should be deleted because that is

confusing and/or misleading. (See id.) For instance, the reference stating that Union Executive

Board members are excluded from the Mercado FLSA Collective is unnecessary, as those

individuals have already joined Joseph and would not receive a notice here in any event. In

addition, the reference in the notices to the number of current opt-ins is misleading because such

a number is subject to change (depending on additional opt-ins or withdrawals of consent), and it

is unnecessary because the individuals who have joined either case at the time of distribution will

not receive a notice so there is no risk of confusion. In any event, if a putative opt-in sends in a

second opt-in notice (after already joining), then he or she will receive the benefit of the earlier-

filed opt-in notice.

        Sixth, the note advising recipients to “contact Plaintiffs’ Counsel: Innessa Huot” to check

on the status of any previously submitted Join Forms should be revised based on which firm is




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appointed General Counsel (if the Court grants Defendants’ consolidation motion and designates

a General Counsel). (See Mercado Dkt. 33-11 at 2; Hurd Decl., Ex. A at 1.)

       Finally, the proposed notice should also be amended to state that participating plaintiffs

may retain their own counsel, which was contained in the agreed-upon notices in Feliciano. (See

Hurd Decl., Exs. A, B.) See, e.g., Shajan v. Barolo, Ltd., No. 10 Civ. 1385 (CM), 2010 WL

2218095, at *2 (S.D.N.Y. June 2, 2010) (“And the notice should say that anyone who consents to

participate has the right to hire his/her own attorney, at his/her own expense.”).

       Defendants’ proposed amendments to the proposed notices should be accepted because

they are reasonable, they have been accepted by a court in this District in a nearly identical case,

and they are not remotely argumentative—in fact, Defendants’ revisions intend to remove

argumentative commentary by the Mercado Plaintiffs in order to better simplify the notices and

provide accurate and clear information to putative opt-ins. Cf. In re Milos Litig., No. 08 Civ.

6666 (LBS), 2010 WL 199688, at *2 (S.D.N.Y. Jan. 11, 2010) (amendments that are “unduly

argumentative, meant to discourage participation in the lawsuit, or are unnecessary or

misleading” should be rejected).

III.   NOTICES SHOULD BE DISSEMINATED VIA FIRST-CLASS MAIL AND E-
       MAIL ONLY.

       If notices are distributed, then the methodology of dissemination should be via first-class

mail and e-mail only, which is also consistent with the manner in which the parties distributed

notices in Feliciano, and which resulted in a significantly high opt-in rate. (See Dkt. 32 at 21;

Hurd Decl. ¶ 5.) There is simply no basis to resort to alternative forms of notice, such as text

messages and workplace notices, which are unnecessarily intrusive, because Plaintiffs have not

shown—and cannot show—that mailing and emailing notices will be ineffective. See Garcia v.



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Spectrum of Creations, Inc., 102 F. Supp. 3d 541, 551 (S.D.N.Y. 2015) (certain alternative forms

of notice should not be permitted until mailing has been shown to be ineffective).

       Courts have found that text messages, specifically, are only necessary when the nature of

the employer’s business facilitates a high turnover rate among employees. Hotaranu v. Star

Nissan Inc., No. 16 CV 5320 (KAM) (RML), 2017 WL 1390808, at *6 (E.D.N.Y. Apr. 12,

2017). Text messages are unnecessary here because the Mercado Plaintiffs make no argument

that there is a high turnover rate among TBTA Bridge and Tunnel Officers, and on balance, text

messages are needlessly intrusive compared to first-class mail and e-mail. Cf. Hernandez v. City

of New York, No. 16-CV-3445 (RA), 2017 WL 2829816, at *9 (S.D.N.Y. June 29, 2017) (finding

emails and first-class mail distributions are not intrusive).

       Similarly, workplace notices should not be posted because they are redundant, gratuitous

and may negatively impact the work environment. See Michael v. Bloomberg L.P., No. 14-CV-

2657 TPG, 2015 WL 1810157, at *4 (S.D.N.Y. Apr. 17, 2015) (“absent a showing that a

significant number of notices were returned as undeliverable, courts have refused to require

posting of a collective action notice in the workplace”); Garcia, 102 F. Supp. 3d at 551 (“We

recognize that a posting of notice in the workplace is not always an effective or even appropriate

way to reach similarly situated employees, and that such a posting may have negative effects on

the workplace environment.”); Mark v. Gawker Media LLC, No. 13-CV-4347 AJN, 2014 WL

5557489, at *3–5 (S.D.N.Y. Nov. 3, 2014) (“the circumstances of this case make clear that

posting in Defendant’s workspace is unlikely to reach any significant number of potential

plaintiffs, and even more unlikely to reach any plaintiffs that will not otherwise receive notice.”);

Chhab v. Darden Rests., Inc., No. 11 CIV. 8345 NRB, 2013 WL 5308004, at *16–17 (S.D.N.Y.

Sept. 20, 2013) (concluding that posting notice in a conspicuous location at all of defendants’


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locations was unnecessary because defendants provided sufficient information for potential

collective members). Moreover, the Mercado Plaintiffs have recently asserted that “many” of the

purported “remaining [nineteen (19)] putative plaintiffs…no longer work for Defendants”

(Mercado Dkt. 61 at 1), demonstrating that workplace notices will not reach them. Even if the

Court were inclined to require notice postings at TBTA facilities in normal circumstances, the

current COVID-19 environment necessarily prohibits congregating in common areas at all

facilities, thus removing any perceived benefit of doing so.

       The two in-District cases cited by Plaintiffs in support of workplace notices are

distinguishable, (Dkt. 32 at 22), since in one case (Hamadou v. Hess Corp., 915 F. Supp. 2d 651,

669 (S.D.N.Y. 2013)) the defendant did not oppose the workplace posting, and in the other

(Whitehorn v. Wolfgang’s Steakhouse, Inc., 767 F. Supp. 2d 445, 449 (S.D.N.Y. 2011)),

defendants failed to explain how a bulletin board or common area notice posting would be

burdensome because potential opt-ins would be notified by mail. Here, by sharp contrast,

Defendants oppose posting workplace notices at TBTA facilities, and a workplace posting is

unduly burdensome because Defendants will provide sufficient personal information—including

names, last known addresses, telephone numbers and known e-mail addresses of all potential

opt-in plaintiffs—to reach the remaining putative opt-ins via traditional means (first class mail

and e-mail). Accordingly, preparing and posting notices in the workplace would be an inefficient

use of time that may even prove futile if “many” of the remaining putative plaintiffs will not see

the notices (either because they no longer work for Defendants or due to COVID-related

restrictions). Given the number of former employees who have not yet opted in, balancing the

minimal (if any) benefits of posting the notices with the potential confusion and distractions that




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inevitably will result if the Court grants the Mercado Plaintiffs’ request tips decidedly in

Defendants’ favor.

       Accordingly, notice should be disseminated to putative opt-in plaintiffs by first-class mail

and e-mail only.

IV.    NOTICE TO POTENTIAL OPT-IN MEMBERS SHOULD BE HANDLED BY A
       NEUTRAL THIRD-PARTY—NOT PLAINTIFFS’ COUNSEL.

       Defendants request that a neutral third-party administrator, such as Rust Consulting,

whom the parties used in Feliciano, be retained to issue notice and oversee the opt-in process.

Notably, this Court has allowed the use of a neutral administrator in similar circumstances as a

matter of course. See Lira v. Eagle Open Kitchen LLC, No. 14-CV-2356 KBF, 2014 WL

7910482 (S.D.N.Y. July 14, 2014) (parties used a designated third-party administrator); Pollock

v. Legends Hosp., LLC, No. 12 CIV. 8334 KBF, 2013 WL 3863864 (S.D.N.Y. July 25, 2013)

(same); Veres-Pop v. Sistina Rest., No. 13 CIV. 2360 KBF, 2013 WL 4082872 (S.D.N.Y. Aug.

8, 2013) (same).

       The United States Supreme Court held in Hoffmann-La Roche that district courts have a

substantial interest in managing communications that are mailed to potential plaintiffs because of

“the potential for misuse of the class device, as by misleading communications . . . .” 493 U.S.

165, 170-71 (1989). Here, given the similarity of the issues in Mercado and Joseph, and the

presence of different plaintiffs’ counsel in Joseph, a third-party administrator would be

instrumental in avoiding mass confusion that putative opt-ins would otherwise experience if

Plaintiffs’ counsel orchestrated the distribution of notice here. A neutral third-party administrator

is simply the best and most efficient way to ensure that any potential order regarding notice is

followed and that notice is distributed in a neutral fashion.



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                                         CONCLUSION

        For these reasons, if the Court conditionally certifies the FLSA Collective and authorizes

notice, the Court should adopt Defendants’ proposed revisions to the notices and grant

Defendants’ request that the notices should be distributed via first-class mail and e-mail only

through a neutral third-party administrator. Further, such notice should not be sent to putative

collective members until Defendants’ consolidation motion and the Joseph Plaintiffs’ proposed

motion for conditional certification are resolved by the Court to avoid duplicative notices being

sent.



                                                     Respectfully Submitted,

Dated: New York, New York
       October 2, 2020
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